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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY
NEWARK DIVISION

 

COSCO SHIPPING LINES (NORTH
AMERICA) INC., AS AGENT FOR COSCO

SHIPPING LINES CO., LTD.
Plaintiff,
VS.
OCEAN LINE LOGISTICS INC. : CIVIL COMPLAINT
: CONTRACT
Defendant(s). :

Xx

 

PLEASE TAKE NOTICE that Plaintiff, COSCO Shipping Lines (North America) Inc.,
as agent for COSCO Shipping Lines Co., Ltd., by and through its counsel, Bryan D. Press, as and
for a Complaint against Defendant, Ocean Line Logistics Inc., allege, upon information and
belief, as follows:

JURISDICTIONAL ALLEGATIONS
1. The jurisdiction of this Court is founded on the admiralty or maritime
character of the claim as more fully appears herein. This is an admiralty or maritime claim within
the meaning of Rule 9(h) of the Federal Rules of Civil Procedure.
2: This is also a claim arising out of a civil case of admiralty and maritime
jurisdiction pursuant to 28 U.S.C. §§1333.
3. Further, as the matter in controversy exceeds, exclusive of interest and costs,

the sum of $75,000.00, plaintiff submits that Federal Jurisdiction is established based upon Diversity
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of Jurisdiction, and, a controversy exceeding the sum of $75,000.00.
VENUE

Le This Court has venue over this matter because both plaintiff and defendant(s)
reside and/or do business within the United States of America, and/or, the contract between the
parties is governed by the laws of the United States of America.

PARTIES

l Plaintiff, COSCO Shipping Lines (North America) Inc., as agent for COSCO
Shipping Lines Co., Ltd. is a corporation duly organized and existing and registered in the State of
New Jersey pursuant to the laws of the State of New Jersey, with offices and a principal place of
business located at 100 Lighting Way, Secaucus, New Jersey 07094.

2. Defendant, Ocean Line Logistics Inc., is a corporation duly organized and
existing pursuant to the laws of the State of California, with offices and a principal place of business
located at 630 West Duarte Road, Suite 205, Arcadia, California 91007.

3. Defendant is a bonded NVOCC as defined in 46 CFR 515.2 (K), and licensed
by the Federal Maritime Commission. The definition refers to the transportation by water of cargo
between the United States and a foreign country for compensation without operating the vessels by
which the transportation is provided. Defendant acted as such in the transaction hereinquestion.
Defendant holds itself out as being experienced in ocean freight transaction, and is or should be
cognizant of the duties that attach to being named as a party “Merchant” to a Bill of Lading.

4. Pursuant to the contract(s) between the parties, all defendant(s) named herein
have bound themselves as liable to the plaintiff via the bill(s) of lading and/or the invoice(s), and,

as beneficial owner(s) of the cargo hereinquestion.
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5 Plaintiff sues on its own behalf and as agent and trustee on behalf of any other

party who may now have or hereinafter acquire an interest in this action.
AS AND FOR A FIRST CAUSE OF ACTION

1. Plaintiff repeats and reiterates each and every allegation contained in the
preceding paragraphs, as if specifically set forth herein at length.

a. As set forth in Exhibits “A” and “B”, and, as per the contract(s) between the
parties, including, but not limited to those attached hereto as Exhibits “B”, and at all times relevant
herein, certain goods shipped by and/or consigned to defendant(s) were delivered to the plaintiff who
arranged and assumed common carrier responsibility to dray, load, and transport defendant(s)' goods
via ocean freight and via intermodal means appurtenant thereto, to the port(s) of and/or final
destination designated by defendant(s) pursuant to the bill(s) of lading, which acted as the contract(s)
of carriage entered between plaintiff and defendant(s).

3. Pursuant to the contract(s), published tariff(s) and/or bill(s) of lading
documents annexed hereto as Exhibit “B”, defendant(s) was(were) and is(are) within the ambit of
the definition of “Merchant” set forth in Section 1 of the bill(s) of lading, either as “... the consignor,
the shipper, the receiver, the consignee, the owner of the Goods, the lawful holder or endorsee of this
Bill of Lading, or any other person having any present or future interest in the Goods or this Bill of
Lading, or anyone authorized to act on behalf of any of the foregoing.” As such, and as more
particularly described in the bills of lading terms, including, but not limited to, Sections 12 and 13,
the defendant(s) agreed to pay all freight, drayage, loading and other charges incident to the
transportation of defendant(s)’ goods to the destination port(s) and/or their ultimate destination(s).

4. Upon information and belief, defendant(s) was(were) and is(are) acting as a
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Non-Vessel Operating Common Carrier (““NVOCC”) and/or Ocean Transportation Intermediary
(“OT”) as defined in 46 CFR 515.2 as to these shipments under the Bill(s) of Lading attached hereto
as Exhibit “B”, and, acted as all times relevant as the shipper/merchant to plaintiff s bill(s) of lading,
and, as such, agreed to pay all freight, drayage, loading, accessorial, and other charges incident to
the transportation of defendant(s)’ and/or its nominee(s)’ goods to their ultimate destination(s).

a Plaintiff's bill(s) of lading served as defendant(s)' document(s) of title,
receipt(s) of the goods transported by plaintiff, and contract(s) of carriage between plaintiff and
defendant(s). As such, plaintiff's bill(s) of lading formed the basis for defendant(s) securing the
goods from its supplier(s) at the point(s) of shipment to the point(s) of destination.

6. The goods described on the bill(s) of lading were transported pursuant to
defendant(s)' instructions, to the port(s) of destination requested and defendant(s)’s goods were
received.

ip Plaintiff has duly performed all duties and obligations required to be
performed by plaintiff.

8. Defendant(s) wrongfully, willfully, negligently and/or fraudulently breached
the terms of the subject agreements by, inter alia, failing to pay the costs of carriage of the ocean
freight and/or per diem charges, overland freight, detention, demurrage, and/or other associated costs
accrued on the cargoes, all as duly invoiced by plaintiff to defendant(s).

g. As a result of Defendant(s)’ breach of the agreements between the parties,
plaintiff has incurred, and will continue to incur, costs and expenses for which defendant(s) is(are)
liable under the terms of the governing contracts and at law.

10. Plaintiff has placed defendant(s) on notice of their claim that defendant(s)
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has(have) breached the subject agreements and violated plaintiffs rights under the law.

ll. Plaintiff, having reviewed its books and records in the ordinary course of
business, has accounted for all prior payment(s), credit(s) and/or set-off(s) by defendant and/or third
party(ies) as against the amounts due set forth herein. Despite plaintiff's repeated demands,
defendant(s) has(have) failed to pay the plaintiff's damages due and owing under the agreements and
at law.

12. By reason of the foregoing, plaintiff have sustained damages in the principal
amount of $842,814.47, together with interest, costs, fees, including reasonable attorneys’ fees and
expenses, for which Plaintiff is entitled pursuant to Exhibits “A” and “B” annexed hereto.

AS AND FOR A SECOND CAUSE OF ACTION

1. Plaintiff repeats and reiterates each and every allegation contained in the
preceding paragraphs, as if specifically set forth herein at length.

2. Defendants have an account stated with the plaintiff, and said invoice(s),
bill(s), and account statement(s) as to the amount(s) due, have been sent to the defendants, to no
avail.

3. By reason of the foregoing, plaintiffs have sustained damages in the principal
amount of $842,814.47, together with interest, costs, fees, including reasonable attorneys’ fees, and
expenses.

AS AND FOR A THIRD CAUSE OF ACTION

l, Plaintiff repeats and reiterates each and every allegation contained in the

preceding paragraphs, as if specifically set forth herein at length.

2. Plaintiff are due from defendant(s) the quantum meruit of plaintiff’ ‘s services.
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AS AND FOR A FOURTH CAUSE OF ACTION

L. Plaintiff repeats and reiterates each and every allegation contained in the
preceding paragraphs, as if specifically set forth herein at length.

a There is due from the defendant(s), the principal sum of $842,814.47, on a
certain book account, and, defendant(s) have been made aware of the past due account(s) on said
book account, to no avail.

2: Payment of the aforesaid sum has been demanded and refused.

AS AND FOR A FIFTH CAUSE OF ACTION

Ll. Plaintiff repeats and reiterates each and every allegation contained in the
preceding paragraphs, as if specifically set forth herein at length.

2. Plaintiff sues the defendant(s) for services rendered by the plaintiff to
defendant(s), upon the promise by the defendant(s) to pay the agreed amounts.

3. Payment has been demanded and refused.

AS AND FOR A SIXTH CAUSE OF ACTION

1. Plaintiff repeats and reiterates each and every allegation contained in the
preceding paragraphs, as if specifically set forth herein at length.

2 Defendant(s) herein received the goods hereinquestion without making
payment to plaintiff for plaintiff's ocean freight and related services.

3. The defendant(s)’ failure to make payment in such regard is intentional.

4. The defendant(s)’ actions in such regard have caused a severe economic
detriment to the plaintiff.

>. The defendant(s)’ actions in such regard represent an unjust enrichment to the
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benefit of the defendant(s) and to the severe economic detriment of the plaintiff.
AS AND FOR A SEVENTH COUNT

1. Plaintiff repeats and reiterates each and every allegation contained in the
preceding paragraphs, as if specifically set forth herein at length.

2. There is due from the defendant(s), the principal sum of $842,814.47, ona
certain book account, a true copy of which is annexed hereto as Exhibit "A" and made a part hereof.

3. Pursuant to terms of the Bill of Lading contract(s) between the parties, copies
of which are annexed hereto as Exhibit “B”, including, but not limited to, Sections 12 and 13,
defendant(s) agreed to be liable to plaintiff for attorney fees, costs and/or expenses arising from any
failure by defendant(s) to comply with the obligations of the Bill of Lading contract(s) or in any way
related to the goods or container(s) or which result from the acts or omissions of the defendant(s),
their agents, servants or third parties for whom defendant(s), their agents or servants are responsible.

4, Defendant(s) failures more particularly described in Exhibit “A” annexed
hereto constitute breach(es) of the Bill of Lading contract(s).

5. Defendant(s) failure to make payment upon demand constitutes a breach of
the Bill of Lading contract(s).

6. Defendant(s) failure to resolve this matter amicably has forced plaintiff to
bring this action to enforce the terms, covenants or conditions of the Bill of Lading contract.

Pe Plaintiff is entitled to recover from defendant(s) reasonable attorney’s fees,
together with costs of suit.

8. 30% of the principal claim, or $252,844.34, constitutes reasonable attorney’s

fees for which defendant(s) are responsible to the plaintiff.
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DAMAGES

By reason of the foregoing, plaintiff has sustained damages in the principal amount

of $842,814.47; plus attorney’s fees, pursuant to the contract(s), of $252,844.34, representing 30%

of the principal amount due; for a total of $1,095,658.81.

WHEREFORE, plaintiff prays for:

A.

Dated: March 22, 2022

Judgment in favor of the plaintiff in the amount of plaintiff's principal
damages of $842,814.47; plus attorney’s fees, pursuant to the contract(s), of
$252844.34, representing 30% of the principal amount due; for a total of
$1,095,658.81, together with interest thereon, as well as costs and
disbursements;

Judgment in favor of the plaintiff for punitive damages for breach of contract
and unjust enrichment;

That process in due form of law according to the practice of this Court in
cases of admiralty and maritime jurisdiction may issue against the
defendant(s) citing it to appear and answer all the singular matters aforesaid;
That plaintiff have such other and further relief in the premises as in law and
Justice it may be entitled to receive.

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